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                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


 RUBI GARCIA, individually and on behalf
 of her minor child, A.H.G.,                        UNITED STATES’ MOTION FOR
                                                    SUMMARY JUDGMENT
                        Plaintiff,

         vs.                                        Case No. 2:19-cv-00416-CW-DBP

 UNITED STATES of AMERICA,                          District Judge Clark Waddoups
                                                    Magistrate Judge Dustin B. Pead
                        Defendant.


       Pursuant to FED. R. CIV. P. 56, the United States of America moves for summary

judgment dismissing Plaintiff Rubi Garcia’s complaint with prejudice. The basis for this

motion is that Ms. Garcia failed to submit her administrative tort claim within two years

of the accrual of her claim, as required by the statute of limitations applicable to the Federal

Tort Claims Act (“FTCA”).

                                          BACKGROUND

       On August 18, 2015, Ms. Garcia gave birth to her daughter, A.H.G., in the University of

Utah Hospital. In the immediate aftermath of the delivery, however, Ms. Garcia noticed that
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A.H.G. was not moving her right arm. A.H.G. was diagnosed as having suffered an injury to the

nerves leading from her spine to her right arm.

       A.H.G. was delivered by Keith Horwood, MD, a family-medicine physician employed by

Community Health Centers, Inc. (“CHC”). Dr. Horwood and other designated employees of the

CHC are deemed to be employees of the U.S. Public Health Service for purposes of medical-

malpractice claims under the FTCA. See 42 U.S.C. § 233(a).

       After A.H.G. was born, Ms. Garcia began taking her to therapy treatments to improve the

strength and motion of her right arm. At about five months of age, A.H.G. underwent nerve graft

surgery in a further effort to improve the function of her right arm. While there has been

improvement, A.H.G. continues to have limitations in the use of her right arm.

       Ms. Garcia alleges that Dr. Horwood failed to exercise proper care in delivering A.H.G.,

resulting in her injury. The United States denies that Dr. Horwood was negligent.

                      STATEMENT OF UNDISPUTED MATERIAL FACTS

       1.      A.H.G. was Ms. Garcia’s fourth child. See Garcia dep. (Ex. A hereto) at 8:3–7.

Ms. Garcia gave birth to a son in 2005 and a daughter in 2006. Id. at 11:2–19. Ms. Garcia and

Alejandro Hernandez, the children’s father, lived in North Carolina when those babies were

born. Id.

       2.      Ms. Garcia and Mr. Hernandez were subsequently married and moved to Utah,

where Ms. Garcia gave birth to another son in 2012. Id. at 7:8–19, 12:14–25. Physicians

employed by the CHC provided prenatal care and delivered Ms. Garcia’s son in 2012. Id.




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       3.        Ms. Garcia again received prenatal care at the CHC during her fourth pregnancy

in 2015. See prenatal chart (Ex. B). Her estimated date of delivery was calculated to be August

17, 2015. Id..

       4.        Ms. Garcia felt contractions in the morning of August 18, 2015, and went to the

University of Utah Hospital. Ex. A at 17:1–9.

       5.        Ms. Garcia’s labor proceeded through the afternoon of August 18, and she began

the second (pushing) phase of her labor at 5:39 p.m. See OB delivery note (Ex. C) at 46.

Dr. Horwood was assisted during this phase by Jennifer Eggebroten, MD, the chief obstetrics

resident. See Horwood dep. (Ex. D) at 36:10–22.

       6.        At 5:57 p.m., A.H.G.’s head emerged. See Ex. C at 46. Dr. Eggebroten attempted

to guide the baby out but was unable to do so. Ex. D at 38:16–23.

       7.        Dr. Horwood then took over the delivery because he suspected the baby was

experiencing a shoulder dystocia. Id. at 39:4-40:25. This is a condition in which the baby’s

shoulder is stuck on the mother’s pelvic structure, impeding the delivery. Id. at 11:19–12:2.

The pediatric team was called to be available in case there was a need to resuscitate the baby

after delivery. Id. at 39:4–19, 96:22-97:3.

       8.        Dr. Horwood asked assisting personnel to employ the McRoberts maneuver and

to apply suprapubic pressure 1 in an effort to free the impacted shoulder and deliver the baby, but

the baby still could not be delivered. Id. at 38:16-39:1.




 1
    In the McRoberts maneuver, the laboring mother’s legs are pulled back toward her abdomen
to widen the opening in her pelvic structure and provide more room for the baby to emerge.
Suprapubic pressure is applied by an assistant who places their hand just above the laboring
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        9.      Dr. Horwood then manually rotated the baby’s shoulders, which freed the

impacted shoulder and allowed the baby to be delivered. Id. at 47:13-48:3. The maneuvers

Dr. Horwood employed took less than a minute to complete, and A.H.G. was delivered at

5:58 p.m. Id. at 95:6-96:2; Ex. C at 47.

        10.     Mr. Hernandez was present with his wife during her labor, and he observed the

baby’s delivery. See Hernandez dep. (Ex. E) at 7:13–19. 2 It appeared to Mr. Hernandez that

Dr. Horwood pulled on the baby’s right shoulder as he was delivering her. Id. at 10:6-12:6.

        11.     After A.H.G. was delivered, the pediatric team took her to the nursery for

examination. Ex. D at 68:17-69:6. The attending personnel noted minimal movement of

A.H.G.’s right arm, consistent with a brachial plexus injury. 3 See WBN/ICU history and physical

(Ex. F) at 8.

        12.     When A.H.G. was returned from the nursery, Ms. Garcia and Mr. Hernandez both

noticed that her right arm appeared to be injured. Ex. A at 23:20–25; Ex. E at 13:15–19.

        13.     Hospital personnel told Ms. Garcia that they would schedule an appointment for

A.H.G. to begin therapy treatments for her right arm. Ex. A at 24:7–23.

        14.     After Ms. Garcia and Mr. Hernandez returned home from the hospital, Mr.

Hernandez told Ms. Garcia that he saw Dr. Horwood pull on A.H.G.’s right shoulder as he was


mother’s pubic bone, where the baby’s shoulder is impacted, and applies pressure in an effort to
free the shoulder and allow the baby to be delivered.
  2
      Mr. Hernandez is mistakenly identified as Alejandro Garcia in the deposition transcript.
  3
     The brachial plexus is a group of nerves that emerge from the spinal cord and carry motion
and sensory signals from the spinal cord to and from the arm. The injury occurs when one or
more of the nerves are stretched or torn. This can result in temporary or permanent loss of
strength and motion in the arm, a condition known as Erb’s palsy.
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delivering her. Ex. A at 30:1–18; Ex. E at 15:15-16:3. Mr. Hernandez told Ms. Garcia that he

thought this had caused A.H.G.’s injury. Ex. A at 30:7–18; Ex. E at 15:8-16:3.

       15.      On September 1, 2015—two weeks after A.H.G. was born—Ms. Garcia took her

to the first of a series of therapy treatments for her right arm. See occupational therapy report

(Ex. G) at 23; Ex. A at 26:21-28:9. The therapist recorded, “[A.H.G.’s] mother provided the

following history. [A.H.G.] was born at 40 weeks following a normal pregnancy and delivery.

Mother reports that during delivery [A.H.G.’s] right arm was pulled or stretched and has not

been moving at all.” Ex. G at 23.

       16.     On November 18, 2015, Ms. Garcia met with Carla Henkel, a service provider

with Early Intervention Services at the Jordan Valley Development Center. See Early

Intervention report (Ex. H). Ms. Henkel spoke with Ms. Garcia and recorded, “Mom has

concerns about [A.H.G.’s] right arm that was pulled at birth and is not moving it very much.” Id.

       17.     On January 29, 2016, Ms. Garcia met with Mark Mahan, MD, a surgeon who

specializes in the repair of nerve injuries, to discuss surgical options for A.H.G. See progress

note (Ex. I) at 129. Dr. Mahan recorded, “The mother states that the father witnessed tugging on

the right shoulder during delivery. Immediately after birth, her right arm was ‘hanging at the

side’ per the mother’s report.” Id. Ms. Garcia decided to proceed with surgery. Id. at 130.

       18.     A.H.G. underwent surgery on February 3, 2016. See discharge summary (Ex. J).

The surgery involved harvesting nerve segments from A.H.G.’s lower legs and grafting them

along A.H.G.’s injured brachial plexus nerves with the goal of improving the transmission of

nerve impulses to her right arm. Id. at 66–67.



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       19.     On February 15, 2016—11 days after A.H.G.’s surgery—Ms. Garcia signed an

“Identification of Counsel,” which identified “KRAMER LAW GROUP as my attorneys, who

represent[ ] my legal interests resulting from an injury sustained on 08/18/2015.” See

Identification of Counsel (Ex. K).

       20.     Ms. Garcia also signed a form dated February 15, 2016, authorizing disclosure of

A.H.G.’s medical information to the Kramer Law Group. See medical release (Ex. L).

       21.     The following day, February 16, 2016, Ms. Garcia signed a form provided by the

University of Utah Hospital authorizing the release of records regarding her treatment at the

hospital on the day of A.H.G.’s birth. See medical release (Ex. M).

       22.     On March 29, 2016, the Kramer Law Group faxed a copy of the medical release

form to the University of Utah Hospital, requesting medical records relating to A.H.G.’s

treatment at the hospital on August 18, 2015, the day of her birth. See records request (Ex. N).

       23.     On October 13, 2017, the Kramer Law Group mailed to Dr. Horwood and

Community Health Centers, Inc., an Amended Notice of Claim and Amended Notice of Intent to

Commence Action, notifying them that Ms. Garcia intended to bring a medical malpractice

action against them arising from the brachial plexus injury A.H.G. suffered when she was born.

See Amended Notice of Claim (Ex. O). 4 The notice was filed with the Utah Department of

Professional Licensing pursuant to Utah law governing the prelitigation process that is a

condition for filing a medical malpractice lawsuit. Id. at 1–2.



 4
    The United States’ understanding is that the amended notice added the CHC and Dr.
Horwood, who were not named as respondents in the original notice of claim against the
University of Utah Hospital and the State of Utah.
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        24.     The Department of Health and Human Services (“HHS”) responded to the

Amended Notice of Claim with a letter to Ron Kramer of the Kramer Law Group dated

November 22, 2017. See HHS letter (Ex. P). The letter advised Mr. Kramer that, to the extent

Ms. Garcia intended to assert a claim arising from the acts or omissions of practitioners who

were deemed to be federal employees, she was required to exhaust her administrative remedy

under the FTCA by first submitting an administrative tort claim to the appropriate federal

agency. Id. The letter further advised Mr. Kramer that “an administrative tort claim must be filed

with the appropriate federal agency within two years from the date such claim accrues or it shall

be forever barred. 28 U.S.C. § 2401(b). . . . According to our Agency records, no administrative

tort claim has been filed in this matter on behalf of Rubi Garcia or [A.H.G.].” Id. (emphasis

in original).

        25.     Mr. Kramer signed a Claim for Damage, Injury, or Death (the “administrative

claim”) dated June 14, 2018, addressed to HHS. See administrative claim (Ex.Q). The

administrative claim identified Rubi Garcia as the claimant who was asserting a tort claim for

injuries suffered by A.H.G. on August 18, 2015, when Dr. Horwood delivered her. Id.

                                           ARGUMENT

I.      Legal Framework

        Tort claims against the United States are governed by the FTCA’s two-year statute of

limitations: “A tort claim against the United States shall be forever barred unless it is presented

in writing to the appropriate Federal agency within two years after such claim accrues . . . .”




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28 U.S.C. § 2401(b). If a claimant fails to present her claim within two years after its accrual,

any subsequent lawsuit asserting the claim must be dismissed. Dahl v. United States, 319 F.3d

1226, 1228 (10th Cir. 2003). 5

       The FTCA’s statute of limitations reflects “a pervasive legislative judgment that it is

unjust to fail to put the adversary on notice to defend within a specified period of time and that

‘the right to be free of stale claims in time comes to prevail over the right to prosecute them.’”

United States v. Kubrick, 444 U.S. 111, 117 (1979) (citation omitted). The statute protects both

the government and the courts “from having to deal with cases in which the search for truth may

be seriously impaired by the loss of evidence, whether by death or disappearance of witnesses,

fading memories, disappearance of documents, or otherwise.” Id.

       In the medical-malpractice context, an FTCA claim accrues “when a claimant knows of

the existence and the cause of [her] injury.” Gustavson v. United States, 655 F.2d 1034, 1036

(10th Cir. 1981). This does not mean that the statute begins to run only when the claimant

discovers that the injury was negligently caused by the health-care practitioner. Id. at 1037.

Rather, the claim accrues when a reasonable person in the claimant’s position would have reason

to suspect that the injury was caused by the practitioner’s actions or inactions. Id. at 1036 (citing

Kubrick, 444 U.S. at 122). At that point, the two-year statute begins to run, and the claimant

bears the burden of determining whether the facts support a malpractice lawsuit. Id. at 1037.




 5
     Subsequent to the Dahl decision, the Supreme Court held that § 2401(b) is a statute of
limitations, not a part of the government’s waiver of sovereign immunity. Thus, the failure to
timely submit an administrative claim does not deprive the court of subject-matter jurisdiction
over the claimant’s action. United States v. Kwai Fun Wong, 575 U.S. 402, 410–12 (2015).
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II.    Ms. Garcia’s claim for A.H.G.’s injury accrued shortly after A.H.G.’s birth,
       when Ms. Garcia knew of A.H.G.’s injury and its potential connection with
       Dr. Horwood’s delivery of her.

       Both Ms. Garcia and Mr. Hernandez testified that they knew A.H.G.’s arm was injured as

soon as A.H.G. was brought back to them from the nursery. After they arrived home from the

hospital, Mr. Hernandez told Ms. Garcia that he believed A.H.G.’s injury was caused by Dr.

Horwood’s pulling on her right shoulder during the delivery.

       Ms. Garcia confirmed her understanding of A.H.G.’s injury in subsequent encounters

with health-care personnel. At A.H.G.’s first therapy session—two weeks after A.H.G. was

born—Ms. Garcia told the therapist that “during [the] delivery A.H.G.’s right arm was pulled or

stretched and has not been moving at all.” Ms. Garcia related the same history of A.H.G.’s injury

at her first visit with Early Intervention Services in November 2015 and at her meeting with Dr.

Mahan in January 2016, prior to A.H.G.’s nerve-graft surgery.

       Because Ms. Garcia knew that A.H.G. had suffered an injury at birth and that there was a

potential causal connection with Dr. Horwood’s actions in delivering her, Ms. Garcia’s claim on

behalf of A.H.G. accrued shortly after her birth. At that point, Ms. Garcia had two years—until

August 2017—to investigate the claim, determine whether she had a basis for a malpractice

action and, if so, submit a written claim to HHS. Instead, her claim was not submitted until June

14, 2018, almost 10 months after the two years had expired.

       The Tenth Circuit demonstrated the application of this principle in Arvayo v. United

States, 766 F.2d 1416 (10th Cir. 1985). Ms. Arvayo took her five-month-old son to the hospital

at McConnell Air Force Base because he had been fussy and had a fever for nine days. Id. at



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1417. The doctor who saw the infant diagnosed an upper respiratory infection and recommended

that Ms. Arvayo give him cold medicine and return in a week if he didn’t improve. Id.

       The following day, Ms. Arvayo returned with her son because his eyes were crossed and

he had begun suffering convulsions. Id. The doctor who saw the infant this time diagnosed

probable bacterial meningitis and immediately transferred him to a civilian hospital for

specialized care. Id. at 1417–18. Ms. Arvayo was advised that her son was probably suffering

from bacterial meningitis and that it could result in brain damage. Id. at 1418, 1422.

       About two and a half years later, Ms. Arvayo consulted an attorney about concerns

regarding the insurance coverage for her son’s medical expenses. Id. at 1418. The attorney

advised Ms. Garcia that the first doctor’s delay in diagnosing bacterial meningitis may have

caused her son to suffer the brain injury. Id. Ms. Arvayo and her husband retained the attorney

and filed an administrative claim four months later, which was nearly three years after the events

at the Air Force hospital. Id.

       After the Arvayos filed suit, the United States argued that they had failed to submit their

administrative claim within two years of the accrual of their claim. Id. The district court

disagreed, holding that the Arvayos’ claim did not accrue until Ms. Arvayo learned from her

attorney of the possible connection between the delayed diagnosis and her son’s brain injury. Id.

       On appeal, the Tenth Circuit reversed, rejecting the district court’s analysis of the accrual

issue. Id. at 1422–23. The court of appeals emphasized that the standard for accrual does not

allow a prospective claimant to wait passively for information supporting a claim, noting that

such a rule “could possibly toll the statute indefinitely.” Id. at 1422. Instead, once the claimant is

aware of an injury and its potential link to the care rendered, they have two years in which to

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inquire as to both causation and negligence and to decide whether to pursue litigation. Id. at

1421. In the Arvayos’ case, the court held that a reasonable person would have begun that

investigation after receiving very different diagnoses of their son’s condition within two days,

followed by a serious illness and likely brain damage. Id. at 1422. Thus, the administrative claim

the Arvayos filed almost three years later was not timely. Id.

       In a case based on facts very similar to those of the present case, the Seventh Circuit

recently upheld the dismissal of a claim because it was untimely. In P.W. by Woodson v. United

States, 990 F.3d 515 (7th Cir. 2021), Ms. Woodson gave birth to a baby boy after a difficult

labor and delivery. Id. at 518. She claimed that her baby “got stuck on the way out” and had to

be “yanked” out “with great force.” Id. Ms. Woodson noticed immediately after the delivery that

something was wrong with her son’s left arm, which “just sagged down to his side.” Id. The

delivery occurred on December 7, 2013, but Ms. Woodson did not submit an administrative

claim until February 19, 2016, over two years after the delivery.

       The Seventh Circuit held that Ms. Woodson’s claim on behalf of her son accrued shortly

after he was born. Id. at 520. The court emphasized the fact that immediately after the delivery—

when she alleged her baby had been “yanked” out—Ms. Woodson recognized that her son’s arm

was injured. Id. The court rejected Ms. Woodson’s argument that at that point she lacked

sufficient information for her claim to accrue. “Ms. Woodson did not need specific information

showing that [the doctor who delivered the baby] caused the injuries. . . . Ms. Woodson had

enough information shortly after she gave birth to P.W. to prompt her to inquire whether the

manner of delivery caused P.W.’s injury.” Id. at 521.



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       The reasoning in Woodson applies squarely to the present case. Ms. Garcia and Mr.

Hernandez both realized that A.H.G.’s arm was injured shortly after she was delivered. After

they arrived home, Mr. Hernandez told Ms. Garcia that he believed A.H.G.’s injury occurred

when Dr. Horwood pulled on her shoulder during the delivery. Ms. Garcia consistently told the

practitioners who treated A.H.G. that her injury was related to Dr. Horwood’s pulling, tugging,

or stretching of A.H.G.’s shoulder during the delivery. Once Ms. Garcia knew of the injury and

its potential connection with Dr. Horwood’s delivery maneuvers, her claim accrued and she had

two years to seek advice in the legal and medical communities to determine whether the facts

warranted a medical-malpractice action. Kubrick, 444 U.S. at 123–24.

                                          CONCLUSION

       A tort claim against the United States “shall be forever barred” if it is not presented to the

appropriate federal agency within two years of its accrual. 28 U.S.C. § 2401(b). Ms. Garcia’s

claim accrued shortly after A.H.G. was born in August 2015. Ms. Garcia’s administrative claim

was not submitted to HHS until June 2018, well over two years after the claim had accrued.

       For the foregoing reasons, the United States requests that the court dismiss Ms. Garcia’s

complaint with prejudice.

       Dated this 20th day of August, 2021.

                                                      ANDREA T. MARTINEZ
                                                      Acting United States Attorney

                                                      /s/ Melina Shiraldi
                                                      MELINA SHIRALDI
                                                      Assistant United States Attorney




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